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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

 UNITED STATES OF AMERICA,

                                   Plaintiff,
                                                       No. 19 CR 865
          v.

 KATHRYN CHOI and OLIVER HAN,

                                   Defendants.


                                NOTICE OF CHANGE OF ADDRESS

To:      All Parties of Record

       PLEASE TAKE NOTICE that effective June 30, 2020, Defendant Oliver Han’s home
address has changed to:

                            615 E. 70th St.
                            Indianapolis, IN 46220

Date: June 30, 2020                                      Respectfully submitted

                                                         OLIVER HAN

                                                 By:     /s/ Leigh D. Roadman
                                                         One of His Attorneys

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